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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :       Crim. No. 21-cr-00032 (DLF)
                                              :
               v.                             :
                                              :
GUY WESLEY REFFITT,                           :
                                              :
                        Defendant.            :

                              JOINT PRETRIAL STATEMENT

       Pursuant to the Court’s January 24, 2022, order, the parties hereby jointly submit this

pretrial statement.

A.     Joint Statement of the Case

       The government has charged the defendant, Mr. Guy Reffitt, with four crimes relating to

Congress’s meeting at the United States Capitol on January 6, 2021, to certify the Electoral College

vote for president. First, he is charged with obstructing an official proceeding for allegedly

interfering with Congress’s meeting. Second, he is charged with being unlawfully present on the

Capitol grounds while armed with a firearm. Third, he is charged with transporting firearms

during a civil disorder. Fourth, he is charged with interfering with law enforcement officers

during a civil disorder.

       The government has also charged Mr. Reffitt with obstructing justice based on statements

he made to his children while at home in Wylie, Texas, around January 11, 2021.

       Mr. Reffitt has pleaded not guilty to all charges.

B.     Proposed Voir Dire Questions

       The parties filed joint proposed voir dire (ECF No. 64) and will submit a Word version of

the same to chambers.




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C.     Proposed Jury Instructions

       The parties filed joint and separate instructions (ECF Nos. 65, 66, 86, 89) and will submit

Word versions of the same to chambers. Consistent with the colloquy during the February 3,

2022, initial pretrial conference, the parties anticipate discussing additional objections with the

Court during the pretrial conference on February 18, 2022. The government anticipates objecting

to the following Redbook instructions that the defense has proposed and separately provided to

chambers: Redbook 1.201 (photographs of the defendant), Redbook 2.204 (testimony of

immunized witness), Redbook 2.205 (informer’s testimony), Redbook 2.211 (refusal of witness to

answer question), Redbook 2.212 (invocation of Fifth Amendment privilege), Redbook 2.216

(prior inconsistent statement of witness), Redbook 2.300 (missing witness or other evidence), and

Redbook 2.305 (statement of defendant as substantive evidence).

D.     List of Government Witnesses

       Attached.

E.     List of Expert Witnesses

       None.

F.     List of Prior Convictions

       None.

G.     List of Government Exhibits

       Attached.

H.     Stipulations

       Attached are four stipulations:

       Ex. 700 – Capitol Building

       Ex. 701 – U.S. Capitol Police video




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       Ex. 702 – Certification of Electoral College vote

       Ex. 703 – Safeway

I.     List of Lesser-Included Offenses

       None.

J.     Proposed Verdict Form

       Attached. 1



                              Respectfully submitted,

     For the Government:                              For the Defendant:

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  The government suggested four special verdict questions for count four (Obstructing Officers
During a Civil Disorder), relating to whether the civil disorder obstructed, delayed, or adversely
affected commerce or one of three federally protected functions. However, the defense requested
that no special verdict questions be asked, and the government respects the defense’s wishes. See
United States v. North, 910 F.2d 843, 910 (D.C. Cir.), opinion withdrawn and superseded in part
on reh'g, 920 F.2d 940 (D.C. Cir. 1990) (describing “judicial distaste” for special verdict forms);
see also id. at 911 (suggesting that special verdict forms are limited to where finding of an overt
act is constitutionally necessary or where a defendant has requested one).


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